               IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF TENNESSEE
                              AT KNOXVILLE



UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )      No. 3:03-CR-101
                                                  )
FRANCISCO ARIZNENDI-LUGO                          )


                                        ORDER

              By judgment entered June 24, 2005, the defendant was sentenced to a term of

imprisonment of 87 months, to be followed by four years of supervised release. In addition,

his judgment provided, “If deported, at all times that the defendant is outside the United

States, his term of supervised release will be tolled for a period of 10 years.” [Doc. 842].

              Subsequently, the Sixth Circuit Court of Appeals held “that district courts are

not authorized to toll the period of supervised release while the defendant is deported and

outside the United States.” United States v. Ossa-Gallegos, 491 F.3d 537 (6th Cir. 2007).

Pursuant to that holding, the court hereby AMENDS the judgment in this case to RESCIND

the above-quoted tolling provision. In all other respects, the June 24, 2005 judgment remains

in effect.

       IT IS SO ORDERED:


                                                         ENTER:

                                                                 s/ Leon Jordan
                                                            United States District Judge


     Case 3:03-cr-00101-RLJ-HBG        Document 1087       Filed 11/14/13    Page 1 of 1
                                       PageID #: 691
